             Case 6:17-ap-00119-KSJ           Doc 60     Filed 07/13/18     Page 1 of 7



                           UNITED STATES BANKRUPTCY COURT
                        GEORGE C. YOUNG FEDERAL COURTHOUSE
                        400 WEST WASHINGTON STREET, SUITE 5100
                                   ORLANDO, FL 32801

In re:
                                                        Case No. 6:17-bk-00294-KSJ
CATHERINE ECKLEY BENTLEY,                               Chapter 7
Debtor.
_____________________________
SUSAN KOLB, M.D.,                                       Adv. No. 6:17-ap-00047-KSJ
Plaintiff,
v.
CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
ROBERT E. THOMAS,                                       Adv. No. 6:17-ap-00048-KSJ
Plaintiff,
v.
CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
SUSAN KOLB, M.D.,                                       Adv. No. 6:17-ap-00119-KSJ
Plaintiff,
v.
CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________/

             NOTICE OF PARTIES’ INABILITY TO REACH STIPULATIONS

         COMES NOW Debtor, CATHERINE ECKLEY BENTLEY, through her undersigned

counsel, and files this Notice of Parties’ Inability to Reach Stipulations in this case, and states as

follows:

         1. It appears that the Court’s initial impression that the parties’ would not be able to

            reach stipulations was correct.

         2. As demonstrated by the e-mail correspondence attached to this notice, parties

            attempted to, but were unable to reach stipulations as to the facts which would require

            no proof at trial and issues to be tried.
            Case 6:17-ap-00119-KSJ         Doc 60     Filed 07/13/18     Page 2 of 7



                                CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by electronic transmission, if registered in the Electronic Case Filing System, otherwise by U.S.
Mail to all parties receiving electronic notifications by the CM/ECF system in the
abovereferenced case and adversary proceedings.


                                                            /s/ Anna Handy
                                                            ___________________________
                                                            Anna Handy, Attorney for Debtor
                                                            Florida Bar No.: 0119532
                                                            Anna Handy Law Firm, P.A.
                                                            P.O. Box 730083
                                                            Ormond Beach, FL 32173
                                                            Telephone: 386-248-3000
                                                            Facsimile: 386-401-2511
                                                            anna.handy2015@gmail.com
7/13/2018                                     Gmail - In re Catherine
                              Case 6:17-ap-00119-KSJ         Doc 60Bentley / Case07/13/18
                                                                        Filed     No. 6:17-bk-00294-KSJ
                                                                                                Page 3 of 7


                                                                                                          Anna Handy <anna.handy2015@gmail.com>



  In re Catherine Bentley / Case No. 6:17-bk-00294-KSJ
  13 messages

  esther.mckean@akerman.com <esther.mckean@akerman.com>                                                                             Thu, Jul 5, 2018 at 4:21 PM
  To: anna.handy2015@gmail.com


    Ms. Handy,


    Attached is a proposed Joint Statement of Facts and Issues pursuant to the Court’s Supplemental Order. If
    you have objections or revisions to the joint language please advise.




    Esther McKean

    Akerman LLP | 420 South Orange Avenue, Suite 1200 | Orlando, FL 32801

    D: 407 419 8583

    esther.mckean@akerman.com




    vCard | Profile




    CONFIDENTIALITY NOTE: The information contained in this transmission may be privileged and confidential, and is intended only for the use of the individual
    or entity named above. If the reader of this message is not the intended recipient, you are hereby notified that any dissemination, distribution or copying of this
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    communication in error and then delete it. Thank you.




            Statement of Facts and Issues.DOCX
            23K


  Anna Handy <anna.handy2015@gmail.com>                                                                                            Thu, Jul 12, 2018 at 8:21 AM
  To: Esther McKean <esther.mckean@akerman.com>

    Good-Morning:


https://mail.google.com/mail/u/2/?ui=2&ik=49ebe5eaa1&jsver=sfKqELK_b44.en.&cbl=gmail_fe_180709.15_p3&view=pt&search=inbox&th=1649574fa…                                   1/6
7/13/2018                                  Gmail - In re Catherine
                           Case 6:17-ap-00119-KSJ         Doc 60Bentley / Case07/13/18
                                                                     Filed     No. 6:17-bk-00294-KSJ
                                                                                             Page 4 of 7
    Attached is my revised Statement of Facts and Issues.
    [Quoted text hidden]
    --
    Sincerely,

    Anna Handy, Attorney
    Anna Handy Law Firm, P.A.
    600 N. Clyde Morris Blvd.
    Daytona Beach, FL 32114
    Mailing Address:
    P.O. Box 730083
    Ormond Beach, FL 32173
    phone: 386-248-3000
    fax: 386-401-2511




            Statement of Facts and Issues (revised).DOCX
            31K


  esther.mckean@akerman.com <esther.mckean@akerman.com>                                                  Thu, Jul 12, 2018 at 11:10 AM
  To: anna.handy2015@gmail.com


    Good morning,



    So that I can attempt to understand your proposed revisions can you please advise on the reasons for striking the
    paragraphs in the draft I circulated.




    Esther McKean

    Akerman LLP | 420 South Orange Avenue, Suite 1200 | Orlando, FL 32801

    D: 407 419 8583

    esther.mckean@akerman.com



    From: Anna Handy <anna.handy2015@gmail.com>
    Sent: Thursday, July 12, 2018 8:21 AM
    To: McKean, Esther (Ptnr-Orl) <esther.mckean@akerman.com>
    Subject: Re: In re Catherine Bentley / Case No. 6:17-bk-00294-KSJ
    [Quoted text hidden]

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7/13/2018                                  Gmail - In re Catherine
                           Case 6:17-ap-00119-KSJ         Doc 60Bentley / Case07/13/18
                                                                     Filed     No. 6:17-bk-00294-KSJ
                                                                                             Page 5 of 7

  anna.handy2015@gmail.com <anna.handy2015@gmail.com>                                                    Thu, Jul 12, 2018 at 12:32 PM
  To: esther.mckean@akerman.com

    We can only stipulate to facts that are true, within our personal knowledge, or easily verifiable.

    Anna Handy
    [Quoted text hidden]



  Anna Handy <anna.handy2015@gmail.com>                                                                     Fri, Jul 13, 2018 at 8:03 AM
  To: Esther McKean <esther.mckean@akerman.com>

    Good-Morning:

    Let me know if you have any revisions to my revised stipulation of facts and issues. I'm in the office all day today if you
    would like to discuss it over the phone. You can call me at 386-248-3000.
    [Quoted text hidden]



  esther.mckean@akerman.com <esther.mckean@akerman.com>                                                     Fri, Jul 13, 2018 at 9:53 AM
  To: anna.handy2015@gmail.com


    Good Morning,



    It does not appear we are in agreement on even the filings that have occurred in the bankruptcy case and adversary
    proceedings as you have stricken those paragraphs. In addition, you have also stricken facts that are “true, within
    [debtor’s] knowledge, or easily verifiable” and further supported by the filings in the case. Thus, I do not see that we can
    file a Joint Statement of Facts and Issues.



    I renew my request to explain why you struck entire paragraphs with procedural and irrefutable facts.




    Esther McKean

    Akerman LLP | 420 South Orange Avenue, Suite 1200 | Orlando, FL 32801

    D: 407 419 8583

    esther.mckean@akerman.com




    From: anna.handy2015@gmail.com <anna.handy2015@gmail.com>
    Sent: Thursday, July 12, 2018 12:33 PM
    [Quoted text hidden]

    [Quoted text hidden]



  Anna Handy <anna.handy2015@gmail.com>                                                                    Fri, Jul 13, 2018 at 11:18 AM
  To: Esther McKean <esther.mckean@akerman.com>

    Ms. McKean,


https://mail.google.com/mail/u/2/?ui=2&ik=49ebe5eaa1&jsver=sfKqELK_b44.en.&cbl=gmail_fe_180709.15_p3&view=pt&search=inbox&th=1649574fa…   3/6
7/13/2018                                  Gmail - In re Catherine
                           Case 6:17-ap-00119-KSJ         Doc 60Bentley / Case07/13/18
                                                                     Filed     No. 6:17-bk-00294-KSJ
                                                                                             Page 6 of 7
    I apologize for not being very clear. I was referring to the actual factual stipulations you proposed, not jurisdictional and
    procedural matters.

    I removed the jurisdictional paragraphs because the court order required us to stipulate to the facts to be admitted without
    proof at trial and jurisdictional matters are not facts that require evidentiary proof at trial, rather matters of law to be
    decided by the court. The bankruptcy filings also do not require evidentiary proof at trial because they are part of the
    bankruptcy record.

    With respect to the actual facts you proposed to admit, I kept the ones I agree to stipulate to and removed those that are
    not true, not within my client's personal knowledge, and not easily verifiable. I also added some additional facts to
    stipulate to that are also relevant and not disputed based your own pleadings and discovery responses in this case.

    Regarding issues, you did not have all issues to be tried based on your own pleadings. I caught that, and not to
    shortchange you, I added those you missed and also those issues raised by Debtor's defenses. If you intend of
    dismissing some claims against Debtor, let me know and we can remove them.

    Obviously, our proposed stipulations share some common facts and common issues, so there is no reason why we
    cannot comply with the court order and file the stipulation, even if we cannot agree to everything. Let's file a stipulation as
    to what we agree.

    Looking forward to hearing from you.
    [Quoted text hidden]



  Anna Handy <anna.handy2015@gmail.com>                                                                   Fri, Jul 13, 2018 at 12:58 PM
  To: Esther McKean <esther.mckean@akerman.com>

    Ms. McKean,

    I took another look at the facts you propose to stipulate to and I have added some additional facts that my client can
    stipulate to - facts regarding the GA appellate decision; Cord's registration from 2005-2008; UCC statement filed in GA,
    and Ms. Bentley's move of the Cord from GA to FL. We cannot stipulate that the UCC statement was filed in Volusia
    County because I cannot find it in the UCC system. Perhaps if you can send it to me, we can stipulate to that fact as well.
    Let me know.
    [Quoted text hidden]



  esther.mckean@akerman.com <esther.mckean@akerman.com>                                                     Fri, Jul 13, 2018 at 1:58 PM
  To: anna.handy2015@gmail.com


    Good afternoon,



    The Volusia County recorded UCC is attached to the Complaint in adversary proceeding 17-ap-119 and found at Docket
    No. 1-6, reflecting Book 7137, Page 3360.




    Esther McKean

    Akerman LLP | 420 South Orange Avenue, Suite 1200 | Orlando, FL 32801

    D: 407 419 8583

    esther.mckean@akerman.com



    From: Anna Handy <anna.handy2015@gmail.com>
    Sent: Friday, July 13, 2018 12:58 PM
https://mail.google.com/mail/u/2/?ui=2&ik=49ebe5eaa1&jsver=sfKqELK_b44.en.&cbl=gmail_fe_180709.15_p3&view=pt&search=inbox&th=1649574fa…   4/6
7/13/2018                                  Gmail - In re Catherine
                           Case 6:17-ap-00119-KSJ         Doc 60Bentley / Case07/13/18
                                                                     Filed     No. 6:17-bk-00294-KSJ
                                                                                             Page 7 of 7
    [Quoted text hidden]

    [Quoted text hidden]



  Anna Handy <anna.handy2015@gmail.com>                                                                     Fri, Jul 13, 2018 at 2:11 PM
  To: Esther McKean <esther.mckean@akerman.com>

    Thank you. I can stipulate that the UCC Financing Statement also was filed in Volusia County, Florida as well.
    [Quoted text hidden]



  Anna Handy <anna.handy2015@gmail.com>                                                                     Fri, Jul 13, 2018 at 3:49 PM
  To: Esther McKean <esther.mckean@akerman.com>

    Ms. Mckean:

    I have not heard back from you as to your proposed revisions to the stipulation. Please let me know if I will be receiving it
    from you today.
    [Quoted text hidden]



  esther.mckean@akerman.com <esther.mckean@akerman.com>                                                     Fri, Jul 13, 2018 at 4:23 PM
  To: anna.handy2015@gmail.com


    Good afternoon,



    Attached is a revised Joint Statement of Facts. Please advise if you are in agreement to the form of the revised Joint
    Statement of Facts. If you are, please confirm I may add your electronic signature and I will e-file.



    Esther McKean

    Akerman LLP | 420 South Orange Avenue, Suite 1200 | Orlando, FL 32801

    D: 407 419 8583

    esther.mckean@akerman.com



    From: Anna Handy <anna.handy2015@gmail.com>
    Sent: Friday, July 13, 2018 3:50 PM
    [Quoted text hidden]

    [Quoted text hidden]


            Statement of Facts and Issues.DOCX
            22K


  Anna Handy <anna.handy2015@gmail.com>                                                                     Fri, Jul 13, 2018 at 5:03 PM
  To: Esther McKean <esther.mckean@akerman.com>

    Ms. Mckean,

    I am not in agreement to the form. This is the second time you are proposing a stipulation of facts which are are not
    entirely correct and rather one sided. I cannot understand why you refuse to stipulate to facts your clients actually
    admitted in admissions. Also, you have not told me which issues you disagree with. I have gone count by count and
    defense by defense to make sure all of them are there.

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